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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

BARBARA LOTT, et. al.                           §
                                                §
v.                                              §           CIVIL ACTION NO. 4:19-cv04984
                                                §
GCE FREIGHT, INC., et. al.                      §

                 DEFENDANT’S NOTICE OF PARTY NAME CHANGE

       Defendant files this Notice of Party Name Change and advises the Court that counsel of

record that its name has changed as follows:

       On October 28, 2020, Montway, Inc., an Illinois corporation, filed its Certificate of

Conversion from a Corporation to a Limited Liability Company for conversion to a Delaware

limited liability company named “Montway LLC.” A true and correct copy of the Certificate of

Conversion is attached as Exhibit A.

       On October 28, 2020, Montway LLC filed its Certificate of Formation in the State of

Delaware,. A true and correct copy of the Certificate of Formation is attached hereto as Exhibit

B.

       Defendant Montway LLC will reflect this name change in future pleadings/submissions.

                                       Respectfully submitted,

                                       LEWIS BRISBOIS BISGAARD & SMITH LLP

                                               / s / K. Stockberger
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                                   sean.wood@lewisbrisbois.com
                                   ATTORNEYS FOR DEFENDANT,
                                   MONTWAY, INC.


                              CERTIFICATE OF SERVICE

       I certify that a proper copy of the foregoing document has been served on the parties’
counsel of record via e-service on the 17th day of August, 2021.



                                                  /s/ K. Stockberger
                                                  Kristopher M. Stockberger




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